        Case 1:18-cv-11642-VM-VF Document 350 Filed 09/22/22 Page 1 of 3
                                                           Court-Appointed Temporary Receiver for Link Motion
                                                           Inc. Pursuant to The Honorable Judge Victor Marrero of
                                                           the United States District Court, Southern District of New
                                                           York
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VIA ECF
Hon. Victor Marrero
United States Courthouse
500 Pearl Street
New York, New York 10007

September 22, 2022

        Re:      Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.)

Dear Judge Marrero,

I write pursuant to your September 15, 2022 order (ECF 338) to address “(1) whether the LKM
Board’s decision to meet in early September 2022 violates any of the Court’s orders in this matter;
and (2) the extent of the Court’s jurisdiction to address (a) any purported violations of the Court’s
orders by the LKM Board and (b) the LKM Board’s ability to meet.” See ECF 338 at 13. It is the
Receiver’s position that Link Motion Inc.’s (“LKM”) Board’s decision to meet in early September
2022 violated the February 1, 2019 Order Appointing Temporary Receiver (ECF 26; the
“Receivership Order”), Judge Freeman’s March 9, 2022 Report and Recommendation (the
“R&R”; ECF 275), and this Court’s August 25, 2022 order adopting the R&R (the “Adoption
Order”; ECF 331; collectively with the Receivership Order and the R&R, the “Orders”), and that
the Court has jurisdiction to address violations of its orders as well as LKM’s Board’s ability to
meet.

LKM’s Board Violated The Orders

In the Receivership Order, this Court appointed me as Receiver and directed me to assume full
control of LKM with the authority to remove all directors and officers. Specifically, the Court
ordered me to:

                 assume full control of the Company by removing, as the Receiver
                 deems necessary or advisable, any director, officer, employee,
                 independent contractor, or agent of the Company, including any
                 Individual Defendant, from control of, management of, or
                 participation in, the affairs of the Company. 1

Accordingly, by operation of the Receivership Order, LKM’s board of directors was immediately
displaced and lacked authority to act. 2 Indeed, under well-established law, the appointment of a
receiver displaces the directors of a company. See Quadrant Structured Prod. Co., Ltd. v. Vertin,

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  ECF 26, Receivership Order at II(2)(b).
2
  On March 14, 2019, I formally removed Defendant Shi as Chairman and Chief Executive Officer. See Form 6-K,
Report of Foreign Private Issuer Pursuant to Rule 13a-16 OR 15d-16 of the Securities Exchange Act of 1934 (2019)
https://www.sec.gov/Archives/edgar/data/1509986/000114420419016009/tv517184_6k.htm. The R&R specifically
recommended that Shi not be re-instated to his previous positions. See ECF 275, R&R at 41.

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         Case 1:18-cv-11642-VM-VF Document 350 Filed 09/22/22 Page 2 of 3
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115 A.3d 535, 558 (Del. Ch. 2015) (the appointment of a receiver is a “‘drastic’ act that displaced
the corporation’s board of directors”) (citation omitted); Guth v. Groves, 44 F. Supp. 851, 853
(S.D.N.Y. 1942) (“The appointment of a receiver deprives the stockholders of their right to
management and displaces the directors whom they have elected to office.”); Francis v. Camel
Point Ranch, Inc., 2019 COA 108M, ¶ 10, 487 P.3d 1089, 1093, as modified on denial of
reh'g (Colo. App. Sept. 19, 2019) (“Upon the receiver's appointment, Camel's corporate officers
and directors lost all authority to control the corporation.”); Abm. S. See & Depew v. Fisheries
Prod. Co., 9 F.2d 235, 237 (2d Cir. 1925) (“The appointment of the receivers supersedes the power
of the directors to carry on the business of the corporation, and the receivers take possession of the
corporation until the further order of the court.”); Manhattan Rubber Mfg. Co. v. Lucey Mfg. Co.,
5 F.2d 39, 40 (2d Cir. 1925) (same); 19 C.J.S. Corporations § 856 (“Since a corporate receiver
supplants officers and directors of corporation and stands in their shoes, insofar as the appointment
of a receiver vests the right to control the corporate property, it is obvious that the directors and
officers of the corporation are, by the appointment, deprived of authority over or control thereof.”)
(citations omitted). As such, any authority that LKM’s Board had was displaced when the
Receiver was appointed.

Further, the R&R confirmed that LKM’s Board lacks the authority to act until the Receiver is
discharged. As Judge Freeman unambiguously stated, “[o]nce the Receiver’s discharge is
effective, the current Board should be free to take whatever business actions it deems in the
Company’s interest[.]” ECF 275, R&R at 41 (emphasis added).

Significantly, in a prior filing with the Court in this action, Defendant Shi (and his counsel, Michael
Maloney) conceded that the appointment of a Receiver had displaced LKM’s board. On March
27, 2019, Shi filed a motion (ECF 37) in this Court seeking to have the Receiver discharged. In
the motion, Shi argued that LKM’s VIE structure “may be deemed legitimate only if the ultimate
controlling person(s) is/are of PRC nationality” and that, under PRC law, it was “illegal” for a non-
PRC citizen to displace a board of directors. ECF 37 at 14 (citations omitted). The motion
contended that:

                  The moment a non-PRC citizen, such as Mr. Seiden, deprives the
                  board of directors of Link Motion of control over the company, the
                  company’s operations will be deemed illegal under PRC law and,
                  therefore, destroy all remaining value in Link Motion. Accordingly,
                  the Court should discharge the receiver so as to prevent Link Motion
                  from becoming illegal under PRC law.

Id. (emphasis added). Thus, Shi and his counsel understood that the Court’s appointment of the
Receiver displaced LKM’s board. 3

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  Further, the displacement of LKM’s Board by the Receiver is also consistent with Cayman law. As the Grand Court
of the Cayman Islands has stated: “These authoritative statements which, so far as I know, have never been doubted,
make it abundantly clear that the powers of the directors of a company are suspended during the tenure in office of
the receiver and manager. The receiver is an officer of the court in the performance of his functions and has for that
purpose all the powers of the company.” ECF 173-7, Canadian Arab Financial Corporation v Player, 1984-85 CILR
110 Line 9 to 16 (emphasis added); see also ECF 173-18, Argentine Holdings (Cayman) Limited v. Buenos Aires
Hotel Corporation SA, 1997 CILR 90 at 102 Line 37 to 104 line 5 (quoting Kerr on Receivers, 16th ed., at 216 (1983))
(“The powers of the directors in this respect are entirely in abeyance so far as that business of the company is

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Case 1:18-cv-11642-VM-VF Document 350 Filed 09/22/22 Page 3 of 3
